         Case 2:20-cr-00216-APG-EJY Document 20 Filed 10/19/20 Page 1 of 3
                                                This is a stip to continue Mr.
                                                Lomeli-Polanco's preliminary
                                                examination, currently set for
                                                10/27. Mr. Lomeli-Polanco
                                                intends to change his plea on
                                                10/28 and, if all goes according
 1   RENE L. VALLADARES                         to plan, this will "alleviate" the
     Federal Public Defender
     State Bar No. 11479                        need   for the prelim. Thus, the
 2
     BRANDON C. JAROCH                          parties seek your approval of a
 3   Assistant Federal Public Defender          stip to continue the 10/27 prelim
     411 E. Bonneville, Ste. 250                for at least 30 days.
 4   Las Vegas, Nevada 89101
     (702) 388-6577/Phone
 5   (702) 388-6261/Fax                         I recommend granting
     Brandon_Jaroch@fd.org
 6
     Attorney for Santiago Rafael Lomeli-Polanco
 7
 8                               UNITED STATES DISTRICT COURT

 9                                    DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                           Case No. 2:20-cr-00216-APG-EJY
11
                    Plaintiff,                               STIPULATION TO CONTINUE
12                                                          PRELIMINARY EXAMINATION
            v.
                                                                   (Second Request)
13
     SANTIAGO RAFAEL LOMELI-POLANCO,
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
17
     Trutanich, United States Attorney, and Jared Grimmer, Assistant United States Attorney,
18
     counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
19
     and Brandon C. Jaroch, Assistant Federal Public Defender, counsel for Santiago Rafael Lomeli-
20
     Polanco, that the Preliminary Examination currently scheduled on October 27, 2020, be vacated
21
     and continued to a date and time convenient to the Court, but no sooner than thirty (30) days.
22
            This Stipulation is entered into for the following reasons:
23
            1.      The defendant is currently set for change a plea and sentencing hearings set for
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     October 28, 2020, which would alleviate the need for a preliminary hearing should the hearings
25
     proceed without issue.
26
            2.      The defendant is in custody and agrees with the need for the continuance.
       Case 2:20-cr-00216-APG-EJY Document 20 Filed 10/19/20 Page 2 of 3




 1         3.     The parties agree to the continuance.
 2         This is the second request for a continuance of the Preliminary Examination.
 3         DATED this 14th day of October, 2020.
 4
 5   RENE L. VALLADARES                            NICHOLAS A. TRUTANICH
     Federal Public Defender                       United States Attorney
 6
 7
     By /s/ Brandon C. Jaroch                      By /s/ Jared Grimmer
 8   BRANDON C. JAROCH                             JARED GRIMMER
     Assistant Federal Public Defender             Assistant United States Attorney
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         Case 2:20-cr-00216-APG-EJY Document 20 Filed 10/19/20 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:20-cr-00216-APG-EJY
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     SANTIAGO RAFAEL LOMELI-POLANCO,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the Preliminary Examination currently scheduled

11                                                                            November 30,
     for Tuesday, October 27, 2020, at 3:30 p.m., be vacated and continued to ________________

12   2020,   at 4:00
     at the hour     PM. __.m.; or to a time and date convenient to the court.
                 of ___:___

13                 October
            DATED this      19,of2020.
                       ___ day    October, 2020.

14
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                                                 UNITED STATES MAGISTRATE JUDGE
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